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                                  10
                                       Vietnam Company Limited, California Fitness &
                                  11   Yoga Centers, and Randy Dobson

                                  12
                                                                UNITED STATES DISTRICT COURT
Northern District of California




                                                              NORTHERN DISTRICT OF CALIFORNIA
 United States District Court




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                                  14   On Behalf of PARKRIDGE LIMITED, a Hong Kong
                                       corporation, by Mabel Mak, and MABEL MAK, an
                                  15   individual,
                                                                   Plaintiffs,
                                  16   v.
                                  17
                                       INDYZEN, INC., a California corporation, and PRAVEEN
                                  18   NARRA KUMAR, an individual,
                                                                      Defendants.
                                  19                                                          Case No. 16-cv-07387
                                       INDYZEN, INC., a California corporation, and PRAVEEN
                                  20   NARRA KUMAR, an individual,                          REQUEST FOR REASSIGNMENT
                                                                      Counter-Plaintiffs,   TO A UNITED STATES
                                  21                                                        DISTRICT JUDGE
                                       v.
                                  22
                                       PARKRIDGE LIMITED, a Hong Kong corporation, BOON
                                  23   GLOBAL LIMITED, a Hong Kong corporation, F8
                                       VIETNAM COMPANY LIMITED, a Vietnam company,
                                  24   CALIFORNIA FITNESS & YOGA CENTERS, an entity of
                                       unknown form, CALIFORNIA MANAGEMENT GROUP,
                                  25
                                       an entity of unknown form, and RANDY DOBSON, an
                                  26   individual,
                                                                     Counter-Defendants.
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                                               Pursuant to Civil L.R. 73-1(a)(2)’s 7-day requirement, the undersigned newly-added entities
                                  1

                                  2    named in Counter-Plaintiffs Indyzen’s and Narra’s ostensible Petition, who are appearing solely in a

                                  3    limited capacity,1 hereby decline to consent to the assignment of this case to a United States Magistrate

                                  4    Judge for trial and disposition and hereby request the reassignment of this case to a United States
                                  5
                                       District Judge.
                                  6

                                  7
                                       DATED: December 21, 2017                              Respectfully submitted,
                                  8
                                                                                             By: /s/ Adam Wolek
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                                                                                             Counter-Defendants Boon Global Limited, F8
                                                                                             Vietnam Company Limited, California Fitness &
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                                         The newly-added entities named in Counter-Plaintiffs’ ostensible Petition are only appearing in a
                                       limited capacity, without prejudice to any defenses or arguments, and expressly reserve all rights
                                  26   including, but not limited to, challenging personal jurisdiction, the propriety of the jurisdiction before
                                       this Court, the propriety of the disputes before this Court, the propriety of the process, and the
                                  27   sufficiency of the allegations made.
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                                                    Case 4:16-cv-07387-JSW Document 36 Filed 12/21/17 Page 3 of 3



                                                                        CERTIFICATE OF SERVICE
                                  1
                                                The undersigned certifies that, on December 21, 2017, she caused this document to be
                                  2
                                       electronically filed with the Clerk of Court using the CM/ECF system, which will send notification of
                                  3
                                       filing to counsel of record for each party.
                                  4

                                  5
                                       Dated: December 21, 2017                            Taft Stettinius & Hollister LLP
                                  6

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                                                                                           By:    /s/ Zachary Clark
                                  8                                                               Zachary Clark

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Northern District of California
 United States District Court




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